


  Upon consideration of the petition filed on the 1st day of February 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Dismissed by order of the Court in conference, this the 23rd day of May 2007."
 

  Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 1st day of February 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
 

  "Dismissed ex mero motu by order of the Court in conference, this the 23rd day of May 2007."
 

  Upon consideration of the petition filed by Plaintiff on the 1st day of February 2007 in this matter for discretionary review under G.S. 7A-31 prior to a determination by the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 23rd day of May 2007."
 
